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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

  KATHLEEN LANSER as guardian
  and next of kin on behalf of A.L.,
  individually and on behalf of all
  others similarly situated,                Case No.

                     Plaintiff,

                     v.
                                            JURY TRIAL DEMANDED.
  BYTEDANCE, INC.; BYTEDANCE
  LTD.; TIKTOK LTD.; TIKTOK
  INC.; TIKTOK PTE. LTD.; AND
  TIKTOK U.S. DATA SECURITY,
  INC.,
                Defendants



                          CLASS ACTION COMPLAINT
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       Plaintiff KATHLEEN LANSER, a guardian and next of kin on behalf of A.L.,

 individually and on behalf of all others similarly situated (“Plaintiff”) brings this

 Class Action Complaint against Defendants Bytedance, Inc.; Butedance, Ltd.;

 TikTok, Ltd.; TikTok, Inc.; TikTok PTE. Ltd.; and TikTok U.S. Data Security, Inc.

 (“Defendants”) as individuals and on behalf of all others similarly situated, and

 allege, upon personal knowledge as to Plaintiff’s own actions and to counsels’

 investigation, and upon information and belief as to all other matters, as follows:

                             STATEMENT OF FACTS

       1.     Plaintiff brings this class action against Defendants for its failure

 disclose that it collects and sells personally identifiable information (“PII”) of

 millions of minor children, without the consent of the minors or their parents,

 including, but not limited to: name, age, profile image, password, email, phone

 number, address, “approximate” location, social media account information, phone

 and social media contacts, messages sent to and received from other TikTok users,

 information in the clipboard of a user’s device, and payment card numbers.

       2.     Upon information and belief, Defendants collects and sells access to

 this personal data without the minors’ or their parents’ notice, knowledge, or

 consent.

    A. The Children’s Online Privacy Protection Act and the COPPA Rule
    Require That TikTok Provide Parental Notice and Gain Parental Consent
    Before Collecting or Using Children’s Personal Information.



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       3.     TikTok collects and uses these young children’s Personal Information

 without providing direct notice to their parents or gaining their parents’ verifiable

 consent, in violation of the Children’s Online Privacy Protection Act of 1998

 (“COPPA”) and Children’s Online Privacy Protection Rule (“Rule” or “COPPA

 Rule”), a federal statute and regulations that protect children’s privacy and safety

 online. It also defies an order that this Court entered in 2019 to resolve a lawsuit in

 which the United States alleged that TikTok Inc.’s and TikTok Ltd.’s predecessor

 companies similarly violated COPPA and the COPPA Rule by allowing children to

 create and access accounts without their parents’ knowledge or consent, collecting

 data from those children, and failing to comply with parents’ requests to delete their

 children’s accounts and information.

       4.     TikTok continues to violate COPPA. Last month, the Department of

 Justice filed a new lawsuit against TikTok for violating COPPA and illegally

 collecting and using young children’s Personal Information. See United States v.

 Bytedance, Ltd., et. al. (Case No. 2:24-cv-06535-ODW-RAO) (C.D. Ca.) (J.

 Wright).

       5.     The COPPA Rule sets requirements for any “operator of a Web site or

 online service directed to children, or any operator that has actual knowledge that it

 is collecting or maintaining Personal Information from a child [under the age of 13].”

 Section 312.3 of COPPA Rule, 16 C.F.R. §§ 312.3.



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       6.     The COPPA Rule requirements apply to TikTok. TikTok is directed to

 children, and TikTok has actual knowledge that it is collecting Personal Information

 from children.

       7.     The COPPA Rule has two requirements that are pertinent to this case:

 (1) parental notice and (2) parental consent.

       8.     First, pursuant to the COPPA Rule, TikTok must provide direct notice

 to parents, notifying them of “what information it collects form children, how it uses

 such information and its disclosure practices for such information.” 16 C.F.R. §§

 312.3(a); 312.4.

       9.     Second, pursuant to the COPPA Rule, TikTok must “[o]btain verifiable

 parental consent prior to any collection, use, and/or disclosure of Personal

 Information from children.” 16 C.F.R. §§ 312.3(b); 312.5.

       10.    The COPPA Rule defines “Personal Information,” as “[I]ndividually

 identifiable information about an individual collected online, including:

             • A first and last name;

             • A home or other physical address including street name and name of
               a city or town;

             • Online contact information as defined in this section;

             • A screen or user name where it functions in the same manner as
               online contact information, as defined in this section;

             • A telephone number;

             • A Social Security number;

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             • A persistent identifier that can be used to recognize a user over time
               and across different Web sites or online services. Such persistent
               identifier includes, but is not limited to, a customer number held in a
               cookie, an Internet Protocol (IP) address, a processor or device serial
               number, or unique device identifier;

             • A photograph, video, or audio file where such file contains a child's
               image or voice;

             • Geolocation information sufficient to identify street name and name
               of a city or town; or

             • Information concerning the child or the parents of that child that the
               operator collects online from the child and combines with an
               identifier described in this definition.”

 Section 312.2 of COPPA Rule, 16 C.F.R. § 312.2.

       11.   Plaintiff uses the same definition of “Personal Information” from

 Section 312.2 of the COPPA Rule for this Complaint.

       12.   33. The COPPA Rule defines “Child” as “an individual under the age

 of 13.” Section 312.2 of COPPA Rule, 16 C.F.R. § 312.2.

    B. TikTok has Repeatedly and Persistently Violated COPPA and Otherwise
    Collected the Personal Information of Minors Without Notice to, Or
    Consent of, Parents.

       13.   TikTok’s predecessor Musical.ly launched in 2014. Musical.ly was a

 social media platform where users could create and share short lip-sync videos.

       14.   By 2016, New York Times tech reporter John Herrman wrote an article

 about the prevalence of young children on Musical.ly, explaining that “[w]hat is




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 striking about the app, though, is how many of its users appear to be even younger

 than [13].” 1

        15.      Mr. Herrman wrote:

        The app does not collect or show the age of its users, but some of its
        top-ranked users, whose posts routinely collect millions of likes, called
        hearts, appear from their videos and profile photos to be in grade-
        school. Until recently, the app had a feature that suggested users to
        follow based on their location. In New York, that feature revealed a list
        composed largely not just of teenagers, but of children. 2

        16.      The CEO of a social media advertising agency told the New York

 Times that with Muscial.ly users, “you’re talking about first, second, third grade.” 3

        17.      As Musical.ly was gaining popularity among elementary school kids in

 the United States, Beijing-based ByteDance Ltd. crated TikTok in 2017. 38. On

 November 9, 2017, ByteDance Ltd. purchased Musical.ly for almost $1 billion. On

 August 2, 2018, TikTok merged with Muiscal.ly, consolidating the accounts and

 data into one application.

        18.      In February 2019, the United States Department of Justice filed a

 complaint against TikTok’s predecessors, Musical.ly and Musical.ly, Inc., alleging

 violations of the COPPA Rule and Section 5 of the FTC Act, 15 U.S.C. § 45.


 1
   Josh Herrman, Who’s Too Young for an App? Musical.ly Tests the Limits, New
 York Times, Sept. 16, 2016,
 https://www.nytimes.com/2016/09/17/business/media/a-social-network-
 frequented-by-children-tests-the-limits-of-online-regulation.html.
 2
   Id.
 3
   Id.

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       19.    The Department of Justice alleged that TikTok’s Musical.ly

 predecessors had collected and used Personal Information from children younger

 than 13 in violation of COPPA, including by (1) failing to directly notify parents of

 the information it collects online from children under 13 and how it uses such

 information and (2) failing to obtain verifiable parental consent before any collection

 or use of Personal Information from children under 13. United States v. Musical.ly,

 et al., No. 2:19-cv-01439-ODW-RAO (C.D. Cal. Feb. 27, 2019) (Dkt. No. 1).

       20.    In March 2019, the Honorable Otis D. Wright II entered a Stipulated

 Order for Civil Penalties, Permanent Injunction, and Other Relief against TikTok’s

 predecessors. Id. at Dkt. No. 10 (2019 Permanent Injunction).

       21.    As part of the 2019 Permanent Injunction, TikTok’s predecessors were

 enjoined from violating the COPPA Rule, including by (1) “failing to make

 reasonable efforts, taking into account available technology, to ensure that a parent

 of a child receives direct notice of Defendants’ practices with regard to the

 collection, use, or disclosure of Personal Information from children” and (2) “failing

 to obtain verifiable parental consent before any collection, use, or disclosure of

 Personal Information from children.” 2019 Permanent Injunction at 8.

       22.    In 2019, Muiscal.ly was renamed TikTok Ltd., and Musical.ly Inc. was

 renamed TikTok Inc. This renaming did not change the companies’ obligations

 under the 2019 Permanent Injunction.



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    C. Despite the Permanent Injunction, TikTok Collects and Uses Children’s
    Personal Information Without Parental Notification or Consent.

       23.    Despite the 2019 Permanent Injunction, millions of American minor

 children, particularly those under the age of 13, continue to join TikTok. And,

 TikTok continues to collect and use their Personal Information.

       24.    When users create a TikTok account, TikTok uses an “age gate” and

 requires that the user provide their birthday – the day, month, and year.

       25.    Since at least March 2019, if a Child enters a birthday that indicates that

 they are 13 years old or over, then they are provided with a regular TikTok account.

       26.    Since at least March 2019, if a Child enters a birthday that indicates that

 they are younger than 13 years old, then they are provided with a “TikTok For

 Younger Users” or “Kids Mode” account. TikTok does not notify parents or obtain

 parental consent for Kids Mode accounts.

       27.    Children with Kids Mode accounts can view videos but cannot post

 videos.

       28.    TikTok’s “age gate” is insufficient. Other than asking for their birthday,

 TikTok makes no other attempt during the sign-in process to verify the user’s age.

       29.    TikTok and its employees have long known that children misrepresent

 their ages to pass through TikTok’s age gate, and that despite other measures

 purportedly designed to remove children from the platform, children are ubiquitous.




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        30.    TikTok’s internal company data and documents classified 18 million of

  its 49 million daily users in the United States as being 14 years or younger. 4

        31.    A former TikTok employee said that TikTok employees had pointed

  out videos from children who appeared to be younger than 13 that were allowed to

  remain online for weeks. 5

        32.    Defendants use human content moderators to review flagged accounts

  that potentially belong to children. In January 2020, for example, a TikTok

  moderator recognized that Defendants maintain accounts of children despite the

  “fact that we know the user is U13,” i.e., under the age of 13, so long as the child’s

  profile does not admit that fact explicitly.

        33.    Another employee admitted that TikTok moderators were required to

  ignore any “external information” indicating that a user under review is a child.

        34.    As another example, in a July 2020 chat, one of Defendants’ employees

  circulated the profiles of numerous underage users he had identified “literally

  through one minute of scanning,” noting “[t]his is incredibly concerning and needs

  to be addressed immediately.”




  4
    Raymond Zhong & Sheera Frenkel, A Third of TikTok’s U.S. Users May Be 14
  or Under, Raising Safety Questions, New York Times, Aug. 14, 2020,
  https://www.nytimes.com/2020/08/14/technology/tiktok-underage-users-ftc.html.
  5
    Id.

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        35.   TikTok utilizes internal algorithms to predict user’s ages based on their

  online behavior. However, TikTok refuses to use its age-prediction algorithm to

  identify children under the age of 13 and stop them from using regular TikTok

  accounts.

        36.   Furthermore, until at least May 2022, TikTok allowed consumers to

  avoid the age gate when creating a TikTok account by allowing consumers to use

  login credentials from certain third-party online services, including Instagram and

  Google. Children were permitted to create TikTok accounts without entering their

  birthday if they used login credentials from Google. However, Google allowed

  children under the age of 13 to create Google accounts with parental consent to use

  Google.

        37.   Regardless of whether a Child uses a regular TikTok account or a Kids

  Mode account, TikTok violates the COPPA Rule by collecting and using their

  Personal Information without parental notice and consent.

        38.   TikTok’s insufficient age verification policies resulted in millions of

  Children gaining access to regular TikTok accounts and to the adult content and

  features of a regular TikTok account.

        39.   For Children with regular TikTok accounts, TikTok collects Personal

  Information about them, including first and last name, age, email address, phone

  number, persistent identifiers for the device(s) used to access TikTok, social media



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  account information, and profile image(s), as well as photographs, videos, and audio

  files containing the user’s image and voice and the metadata associated with such

  media (such as when, where, and by whom the content was created), usage

  information, device information, location data, image and audio information,

  metadata, and data from cookies and similar technologies that track users across

  different websites and platforms.

        40.    For Children with Kids Mode accounts, TikTok still collects Personal

  Information about them, including several types of persistent identifiers, including

  IP address and unique device identifiers. TikTok also collects app activity data,

  device information, mobile carrier information, and app information from Children

  using Kids Mode accounts—which it combines with persistent identifiers and uses

  to amass profiles on children.

        41.    In August 2024, the Department of Justice filed a new complaint

  alleging that TikTok violated COPPA and the COPPA Rule, including by (1)

  knowingly creating accounts for children and collecting data from those children

  without first notifying their parents and obtaining verifiable parental consent; (2)

  failing to honor parents’ requests to delete their children’s accounts and information;

  and (3) failing to delete the accounts and information of users it knows are children.

     D. TikTok Generates Revenue from Its Unlawful Conduct by Advertising to
     Children.

        42.    TikTok is a short-form video social media platform.


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        43.    In January 2024, TikTok reported that it had approximately 170 million

  monthly active users in the United States.

        44.    TikTok earns a substantial amount of its revenue from advertising.

        45.    TikTok reported that it earned $16 billion in revenue in the United

  States in 2023.

        46.    TikTok uses the Personal Information collected from children (under

  the age of 13) to target them with advertising.

        47.    TikTok targets users with specific advertisements by collecting

  persistent identifiers about the users and combining the identifiers with other

  information about the users.

        48.    In other words, TikTok targets specific advertisements to children

  (under the age of 13) by violating COPPA. Thus, a substantial portion of the revenue

  that TikTok earns from advertisements that are served on children (under the age of

  13) is a direct and proximate result of TikTok’s violation of COPPA.

        49.    TikTok’s algorithm is trained on data collected from users via the

  TikTok platform and from third-party sources. Such data include videos viewed,

  “liked,” or shared, accounts followed, comments, content created, video captions,

  sounds, and hashtags, as well as device and account settings such as language

  preference, country setting, and device type.




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        50.      TikTok combines this collected data with children’s persistent

  identifiers. The collected data is thus Personal Information. Section 312.2 of COPPA

  Rule, 16 C.F.R. § 312.2.

        51.      TikTok also provides targeting options to advertisers that are based on

  this collected Personal Information.

        52.      For example, for behavioral targeting, TikTok targets users based on

  their interactions with organic and paid content, including the types of videos the

  user viewed.

        53.      For interest targeting, TikTok’s algorithm analyzes users’ long-term

  platform activities.

     E. Defendants Operate Under a Common Enterprise.

        54.      Defendants are a series of interconnected companies that operate the

  TikTok social media platform. Defendant ByteDance Ltd. is the parent and owner

  of Defendants ByteDance, Inc. and TikTok Ltd. TikTok Ltd. owns Defendants

  TikTok LLC and TikTok Pte. Ltd. TikTok LLC in turn owns Defendant TikTok Inc.,

  which owns Defendant TikTok U.S. Data Security Inc.

        55.      Upon information and belief, a group of ByteDance Ltd. and TikTok

  Inc. executives, including Zhang Yiming, Liang Rubo, Zhao Penyuan, and Zhu

  Wenjia, direct and control TikTok’s core features and development. Since 2019,

  ByteDance Ltd. and TikTok Inc. have promoted TikTok in the United States,



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  spending hundreds of millions of dollars on advertising, employing U.S.-based staff

  and executives, and developing and distributing TikTok to run on Apple and

  Android devices.

        56.    ByteDance Inc. and TikTok Inc. have responsibilities for developing,

  providing, and supporting TikTok in the United States.

        57.    TikTok Pte. Ltd. serves as the U.S. distributor of TikTok through the

  Apple App Store and Google Play Store.

        58.    TikTok Ltd. identifies itself as the developer of TikTok in the Apple

  App Store, and TikTok Pte. Ltd. identifies itself as the developer of TikTok in the

  Google Play Store. The tiktok.com domain is registered to TikTok Ltd.

        59.    Beginning in 2023, TikTok Inc. transferred Personal Information of

  children to TikTok U.S. Data Security Inc., which has maintained that data without

  notice to those children’s parents or parental consent.

        60.    Defendants share officers and directors. For example, TikTok Inc.’s

  chief executive officers between 2020 and the present (Kevin Mayer, V Pappas, and

  Shou Zi Chew), have simultaneously held senior positions at ByteDance Ltd., and

  ByteDance Ltd.’s chief executive officers (Zhang Yiming and Liang Rubo) have

  simultaneously served as directors of TikTok Ltd. TikTok Inc.’s Global Chief

  Security Officer, Roland Cloutier, also served as cyber risk and data security support

  for ByteDance Ltd. ByteDance Inc. and TikTok Pte. Ltd.’s officers and directors



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  have also overlapped with each other, and with officers and directors of TikTok Inc.

  Defendants intertwine their finances; for example, ByteDance Ltd. provides

  compensation and benefits to TikTok Inc.’s CEO, and TikTok Inc. employees

  participate in ByteDance Ltd.’s stock option plan.

        61.    Defendants have one centralized bank account for ByteDance Ltd.’s

  more than a dozen products, including TikTok. Defendants operate on a “shared

  services” model in which ByteDance Ltd. provides legal, safety, and privacy

  resources, including personnel. ByteDance’s largest shareholder, Zhang Yiming,

  signed the 2019 consent order with the United States on behalf of Musical.ly, TikTok

  Ltd.’s predecessor company.

        62.    Defendants have operated as a common enterprise while engaging in

  the unlawful acts and practices alleged below.

                              JURISDICTION & VENUE

        63.    This Court has subject matter jurisdiction over this action pursuant to

  the Class Action Fairness Act (“CAFA”), 28 U.S.C.§1332(d)(2), because this is a

  class action wherein the amount in controversy exceeds the sum or value of

  $5,000,000.00, exclusive of interest and costs, there are more than 100 members in

  the proposed class, and at least one member of the class is a citizen of a state different

  from each Defendants




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         64.    Defendants are each subject to personal jurisdiction in this district

  because they have substantial aggregate contacts throughout the United States and

  the state of New Jersey. Defendants have engaged, and continue to engage, in

  conduct that has a direct, substantial, reasonably foreseeable, and intended effect of

  causing injury to persons throughout the United States, and the state of New Jersey,

  and this District, and it purposely availed itself of the laws of the United States and

  the State of New Jersey.

         65.    Defendants are each subject to personal jurisdiction in this District

  because they purposely avail themselves of the privilege of conducting activities in

  the United States and the State of New Jersey and direct business activities toward

  consumers throughout the United States and the State of New Jersey. Furthermore,

  Defendants engaged and continue to engage in conduct that has a foreseeable,

  substantial effect throughout the United States and the State of New Jersey,

  connected with its unlawful acts.

         66.    Venue is proper in this District under 28 U.S.C §1391(b) because

  Plaintiff and thousands of potential Class Members reside in this District;

  Defendants transact business in this District; and Defendants intentionally avails

  itself of the laws within this District.




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                                       PARTIES

        67.    Plaintiff KATHLEEN LANSER is the mother of A.L., a 14-year-old

  minor who used TikTok. Plaintiff is a citizen of the state of New Jersey. At all

  relevant times, Plaintiff has been a resident of Dumont, New Jersey.

        68.    This action is brought on minor child A.L.’s behalf by Plaintiff

  Kathleen Lanser.

        69.    During the Class Period, A.L. created and used a TikTok account (while

  under the age of 13) and viewed content on the TikTok platform.

        70.    A.L. created a TikTok account at approximately 12 years old.

        71.    During the Class Period, Defendants collected A.L.’s Personal

  Information for the purpose of tracking A.L.’s activity and utilizing targeted

  advertisements.

        72.    Defendants never obtained consent from nor notified B.L.’s parent and

  legal guardian, Kathleen Lanser, at any point prior to or during its collection and use

  of A.L.’s Personal Information.

        73.    Defendants were bound by the 2019 Permanent Injunction that

  prohibited Defendants from collecting Personal Information from children under the

  age of 13, and therefore this conduct could not have reasonably been discovered

  earlier through investigation.




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        74.    Defendant TikTok Inc. is a California corporation with its principal

  place of business at 5800 Bristol Parkway, Suite 100, Culver City, California 90230.

  TikTok Inc. transacts or has transacted business in this District and throughout the

  United States.

        75.    Defendant TikTok U.S. Data Security Inc. is a Delaware corporation

  with its principal place of business shared with TikTok Inc. TikTok U.S. Data

  Security Inc. transacts or has transacted business in this District and throughout the

  United States.

        76.    Defendant ByteDance Ltd. is a Cayman Islands company. It has had

  offices in the United States and in other countries. ByteDance Ltd. transacts or has

  transacted business in this District and throughout the United States.

        77.    Defendant ByteDance Inc. is a Delaware corporation with its principal

  place of business at 250 Bryant Street, Mountain View, California, 94041.

  ByteDance Inc. transacts or has transacted business in this District and throughout

  the United States.

        78.    Defendant TikTok Pte. Ltd. is a Singapore company with its principal

  place of business at 8 Marina View Level 43 Asia Square Tower 1, Singapore,

  018960. TikTok Pte. Ltd. transacts or has transacted business in this District and

  throughout the United States.




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        79.    Defendant TikTok Ltd. is a Cayman Islands company with its

  principal place of business in Singapore or Beijing, China. TikTok Ltd. Transacts or

  has transacted business in this District and throughout the United States.

                               CLASS ALLEGATIONS

        80.    Plaintiff brings this nationwide class action individually, and on behalf

  of all similarly situated individuals, pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4)

  of the Federal Rules of Civil Procedure.

        81.    The Classes that Plaintiff seek to represent are defined as follows:

     Nationwide Class
       All United States residents (who were younger than 13 years old when they
       used TikTok) from whom Defendants collected and/or used Personal
       Information during the Class Period without notifying their parents and
       obtaining verifiable parental consent beforehand (the “Class”).

     New Jersey Subclass
       All New Jersey residents (who were younger than 13 years old when they used
       TikTok) from whom Defendants collected and/or used Personal Information
       during the Class Period without notifying their parents and obtaining
       verifiable parental consent beforehand (the “New Jersey Subclass”).

        82.    Collectively, the Class and New Jersey Subclass are referred to as the

  “Classes” or “Class Members.”

        83.    Excluded from the Classes are the following individuals and/or entities:

  Defendants and Defendants’ parents, subsidiaries, affiliates, officers and directors,

  and any entity in which Defendants has a controlling interest; all individuals who

  make a timely election to be excluded from this proceeding using the correct protocol



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  for opting out; and all judges assigned to hear any aspect of this litigation, as well as

  their immediate family members.

        84.      Plaintiff reserves the right to amend the definitions of the Classes or

  add a Class or Subclass if further information and discovery indicate that the

  definitions of the Classes should be narrowed, expanded, or otherwise modified.

        85.      Numerosity: The members of the Classes are so numerous that joinder

  of all members is impracticable, if not completely impossible. The members of the

  Classes are so numerous that joinder of all of them is impracticable. While the exact

  number of Class Members is unknown to Plaintiff at this time and such number is

  exclusively in the possession of Defendant, upon information and belief, millions of

  minor individuals are implicated.

        86.      Common questions of law and fact exist as to all members of the

  Classes and predominate over any questions affecting solely individual members of

  the Classes. The questions of law and fact common to the Classes that predominate

  over questions which may affect individual Class Members, includes the following:

              a. Whether TikTok has or had a practice of collecting Personal
                 Information from children who were younger than 13 years old without
                 notifying their parents and obtaining verifiable parental consent
                 beforehand;

              b. Whether TikTok has or had a practice of using Personal Information
                 from children who were younger than 13 years old without notifying
                 their parents and obtaining verifiable parental consent beforehand;




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              c. Whether TikTok’s practices violate the Children’s Online Privacy
                 Protection Act of 1998 (“COPPA”) and the Children’s Online Privacy
                 Protection Rule (“COPPA Rule”);

              d. Whether TikTok engaged in unlawful business practices;

              e. Whether TikTok engaged in unfair business practices;

              f. Whether TikTok has unjustly received and retained monetary benefits
                 from Plaintiff’s minor child and Class Members by profiting off the use
                 of their Personal Information; and

              g. Whether Class Members are entitled to damages and/or restitution, and
                 if so, the method of computing damages and/or restitution.

        87.      Typicality: Plaintiff’s claims are typical of those of the other members

  of the Classes because Plaintiff’s minor child, like every other Class Member, was

  exposed to virtually identical conduct and now suffers from the same violations of

  the law as each other member of the Classes.

        88.      Policies Generally Applicable to the Class: This class action is also

  appropriate for certification because Defendants acted or refused to act on grounds

  generally applicable to the Classes, thereby requiring the Court’s imposition of

  uniform relief to ensure compatible standards of conduct toward the Class Members

  and making final injunctive relief appropriate with respect to the Classes as a whole.

  Defendants’ policies challenged herein apply to and affect Class Members uniformly

  and Plaintiff’s challenges of these policies hinges on Defendants’ conduct with

  respect to the Classes as a whole, not on facts or law applicable only to Plaintiff.




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        89.    Adequacy: Plaintiff will fairly and adequately represent and protect the

  interests of the Class Members in that Plaintiff has no disabling conflicts of interest

  that would be antagonistic to those of the other Class Members. Plaintiff seeks no

  relief that is antagonistic or adverse to the Class Members and the infringement of

  the rights and the damages suffered are typical of other Class Members. Plaintiff has

  retained counsel experienced in complex class action and data breach litigation, and

  Plaintiff intends to prosecute this action vigorously.

        90.    Superiority and Manageability: The class litigation is an appropriate

  method for fair and efficient adjudication of the claims involved. Class action

  treatment is superior to all other available methods for the fair and efficient

  adjudication of the controversy alleged herein; it will permit a large number of Class

  Members to prosecute their common claims in a single forum simultaneously,

  efficiently, and without the unnecessary duplication of evidence, effort, and expense

  that hundreds of individual actions would require. Class action treatment will permit

  the adjudication of relatively modest claims by certain Class Members, who could

  not individually afford to litigate a complex claim against large corporations, like

  Defendants. Further, even for those Class Members who could afford to litigate such

  a claim, it would still be economically impractical and impose a burden on the courts.

        91.    The nature of this action and the nature of laws available to Plaintiff

  and Class Members make the use of the class action device a particularly efficient



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  and appropriate procedure to afford relief for the wrongs alleged because Defendants

  would necessarily gain an unconscionable advantage since Defendants would be

  able to exploit and overwhelm the limited resources of each individual Class

  Member with superior financial and legal resources; the costs of individual suits

  could unreasonably consume the amounts that would be recovered; proof of a

  common course of conduct to which Plaintiff was exposed is representative of that

  experienced by the Classes and will establish the right of each Class Member to

  recover on the cause of action alleged; and individual actions would create a risk of

  inconsistent results and would be unnecessary and duplicative of this litigation.

        92.    The litigation of the claims brought herein is manageable. Defendants’

  uniform conduct, the consistent provisions of the relevant laws, and the ascertainable

  identities of Class Members demonstrates that there would be no significant

  manageability problems with prosecuting this lawsuit as a class action.

        93.    Adequate notice can be given to Class Members directly using

  information maintained in Defendants’ records.

        94.    Unless a Class-wide injunction is issued, Defendants may continue to

  act unlawfully as set forth in this Complaint.

        95.    Further, Defendants have acted on grounds that apply generally to the

  Classes as a whole, so that class certification, injunctive relief, and corresponding

  declaratory relief are appropriate on a class- wide basis.



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                                CAUSES OF ACTION

                        COUNT 1: UNJUST ENRICHMENT
                        (On behalf of Plaintiff and the Classes)

        96.    Plaintiff re-alleges and incorporates by reference all the allegations

  contained in the foregoing paragraphs as if fully set forth herein.

        97.    By obtaining and reselling A.L. and Class Members’ PII, Defendants

  received a monetary benefit. Defendants knew that it could sell the PII for financial

  gain and has retained that benefit.

        98.    Defendants have unjustly received and retained monetary benefits from

  A.L. and Class Members—minor children—by profiting off the use of their Personal

  Information under unjust circumstances such that inequity has resulted.

        99.    Defendants have knowingly obtained benefits from A.L. and Class

  Members as alleged herein under circumstances such that it would be inequitable

  and unjust for TikTok to retain them.

        100. Defendants have been knowingly enriched by revenues and profits it

  received from unjustly and illegally collecting and using the Personal Information

  of children under the age of 13 to build profiles and target advertisements to those

  children.

        101. Defendants have failed to obtain legally valid consent from A.L. and

  Class Members or their parents and guardians to collect and use these minor

  children’s Personal Information.


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         102. Defendants will be unjustly enriched if they are permitted to retain the

  benefits derived from the illegal collection and usage of A.L. and Class Members’

  Personal Information.

         103. Plaintiff and Class Members are therefore entitled to relief, including

  disgorgement of all revenues and profits that TikTok earned as a result of its

  unlawful and wrongful conduct.

                        COUNT 2: INVASION OF PRIVACY
                        (On behalf of Plaintiff and the Classes)

         104. Plaintiff re-alleges and incorporates by reference all the allegations

  contained in the foregoing paragraphs as if fully set forth herein.

         105. As minor children, A.L. and Class Members had a legitimate

  expectation of privacy in their Personal Information. A.L. and Class Members were

  entitled to the protection of this information from disclosure to unauthorized third

  parties.

         106. Defendants intentionally and unreasonably intruded upon the

  seclusion of minor children, A.L. and Class Members, without the consent of A.L.

  and Class members, who were minors, or their parents or guardians.

         107.   As set forth above, Defendants collected and sold the Personal

  Information millions of minor children, without the consent of the minors or their

  parents, including, but not limited to: name, age, profile image, password, email,

  phone number, address, “approximate” location, social media account information,


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  phone and social media contacts, messages sent to and received from other TikTok

  users, information in the clipboard of a user’s device, and payment card number

        108. Defendants intruded on private activities and information of minor

  children.

        109. Defendants’ intrusion was highly offensive to a reasonable person.

        110. Defendants owed a duty to Plaintiff and Class Members to keep their

  Personal Information confidential.

        111. Defendants permitted the public disclosure of A.L. and Class

  Members’ Personal Information to unauthorized third parties.

        112. The Personal Information that was collected and disclosed without the

  Plaintiff’s and Class Members’ authorization was highly sensitive, private, and

  confidential. The public disclosure of the type of Personal Information at issue here

  would be highly offensive to a reasonable person of ordinary sensibilities.

        113. By permitting the unauthorized collection and disclosure, Defendants

  acted with reckless disregard for A.L. and Class Members’ privacy, and with

  knowledge that such disclosure would be highly offensive to a reasonable person.

  Furthermore, the disclosure of the Personal Information at issue was not

  newsworthy or of any service to the public interest.

        114.   Defendants acted with such reckless disregard as to the safety of A.L.

  and Class Members’ Personal Information to rise to the level of intentionally



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  allowing the intrusion upon the seclusion, private affairs, or concerns of A.L. and

  Class Members.

        115. Plaintiff and Class Members have been damaged by the invasion of

  their privacy in an amount to be determined at trial.

                               PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the other members

  of the Classes alleged herein, respectfully requests that the Court enter judgment as

  follows:

         A.    For an order certifying the Class under Rule 23 of the Federal Rules of
               Civil Procedure and naming Plaintiff as the representative for the
               Classes and counsel for Plaintiff as Class Counsel;

         B.    For an order declaring the Defendants’ conduct violates the causes of
               action referenced herein;

         C.    For an order finding in favor of Plaintiff and Class Members on all
               counts asserted herein;

         D.    For an order requiring Defendants to pay for lifetime credit monitoring
               and dark web scanning services for Plaintiff and the Classes;

         E.    For compensatory, statutory, and punitive damages in amounts to be
               determined by the Court and/or jury;

         F.    For prejudgment interest on all amounts awarded;

         G.    For an order of restitution and all other forms of equitable monetary
               relief requiring the disgorgement of the revenues wrongfully retained
               as a result of the Defendants’ conduct;

         H.    For injunctive relief as pleaded or as the Court may deem proper; and




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          I.   For an order awarding Plaintiff and Class Members their reasonable
               attorneys’ fees and expenses and costs of suit, and any other expense,
               including expert witness fees; and

          J.   Such other relief as this Court deems just and proper.

                            DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial

  by jury of all claims in this Complaint and of all issues in this action so triable as

  of right.

  Dated: November 27, 2024                       /s/ Christopher A. Seeger
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